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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    JEREMY S. KROGER, Bar # 258956
     Assistant Federal Defender
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5
     Attorney for Defendant
6    JAIRO FERNANDEZ
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )            Case No. 1:11-cr-00174 AWI-2
                                           )
12                     Plaintiff,          )
                                           )            STIPULATION TO CONTINUE
13         v.                              )            STATUS CONFERENCE HEARING;
                                           )            ORDER THEREON
14   JAIRO FERNANDEZ,                      )
                                           )            Date: October 24, 2011
15                     Defendant.          )            Time: 9:00 a.m.
     _____________________________________ )            Dept : Hon. Anthony W. Ishii
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17
18          IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective
19   attorneys of record herein, that the status conference hearing in the above-referenced action now scheduled
20   for October 17, 2011, may be continued to October 24, 2011, at 9:00 a.m.
21          The parties request this one-week continuance to provide time to work out the remaining details of
22   an anticipated plea agreement. The requested continuance will conserve time and resources for all parties
23   and the Court.
24   ///
25   ///
26   ///
27   ///
28   ///
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1            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice, including but not limited to, the need for the period of time set forth herein for further defense
3    preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B).
4
5                                                           BENJAMIN B. WAGNER
                                                            United States Attorney
6
7    DATED: October 12, 2011                        By:     /s/ Henry Z. Carbajal
                                                            HENRY Z. CARBAJAL, III
8                                                           Assistant United States Attorney
                                                            Attorney for Plaintiff
9
10
11                                                          DANIEL J. BRODERICK
                                                            Federal Defender
12
13   DATED: October 12, 2011                        By:     /s/ Jeremy S. Kroger
                                                            JEREMY S. KROGER
14                                                          Assistant Federal Defender
                                                            Attorney for Defendant
15                                                          Jairo Fernandez
16
17                                                     ORDER
18           IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C.
19   §§ 3161(h)(7)(A) and (B).
20   IT IS SO ORDERED.
21
     Dated:      October 12, 2011
22   0m8i78                                                     CHIEF UNITED STATES DISTRICT JUDGE
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     Fernandez / Stipulation to Continue Status
     Conference Hearing; Order Thereon                      2
